      Case 3:19-cv-00207 Document 607 Filed on 12/22/21 in TXSD Page 1 of 1
                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                      December 22, 2021
                      UNITED STATES DISTRICT COURT
                                                                       Nathan Ochsner, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

KIRBY INLAND MARINE L.P.,               §
                                        §
         Plaintiff,                     §
VS.                                     § CIVIL ACTION NO. 3:19-CV-207
                                        §
FPG SHIPHOLDING PANAMA 47               §
S.A., et al,                            §
                                        §
         Defendants.                    §

                                    ORDER

       Before the court is the parties’ joint stay stipulation. Dkt. 606. The

remaining docket-control deadlines in this case are stayed. The new

deadlines will be set by the court at a future date.




       Signed on Galveston Island on the 22nd day of December, 2021.


                                     ___________________________
                                     JEFFREY VINCENT BROWN
                                     UNITED STATES DISTRICT JUDGE
